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16
17                      UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA
18
19    Charles Hunter,                            Case No.:
20
                    Plaintiff,                   Complaint for Damages and
21     v.                                        Injunctive Relief under the
22                                               Telephone Consumer Protection
      Broker Solutions, Inc. dba New             Act, 47 U.S.C. § 227, et seq.
23    American Funding,
24                                               Jury trial demanded
                    Defendant.
25
26
27
     _____________________
     Complaint                              - ​1 -
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 1                                         Introduction
 2 1. Charles Hunter (“Plaintiff”), by counsel, brings this action for damages resulting
 3     from the unlawful actions of Broker Solutions, Inc. dba New American Funding
 4     (“NAF or Defendant”), in negligently and/or intentionally contacting Plaintiff on
 5     Plaintiff’s cellphone, in violation of the Telephone Consumer Protection Act, 47
 6     U.S.C. § 227, et seq. (the “TCPA”), thereby invading Plaintiff’s privacy.
 7 2. The TCPA was designed to prevent calls like the ones described within this
 8     complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
 9     consumer complaints about abuses of telephone technology – for example,
10     computerized calls dispatched to private homes – prompted Congress to pass the
11     TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
12 3. Plaintiff makes these allegations on information and belief, with the exception of
13     those allegations that pertain to Plaintiff, which Plaintiff alleges on personal
14     knowledge.
15 4. While many violations are described below with specificity, this Complaint
16     alleges violations of the statutes cited in their entirety.
17 5. Unless otherwise stated, all the conduct engaged in by Defendant took place in
18     Nevada.
19 6. Any violations by Defendant were knowing, willful, and intentional, and
20     Defendant did not maintain procedures reasonably adapted to avoid any such
21     violations.
22                                   Jurisdiction and Venue
23 7. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal question
24     jurisdiction).
25 8. This action arises out of Defendant’s violations of the FDCPA.
26
27
      _____________________
      Complaint                                 - ​2 -
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 1 9. Defendant is subject to personal jurisdiction in Nevada, as it is registered with
 2     the Nevada Secretary of State and conducts business in Nevada, and attempted to
 3     collect debt from Plaintiff in Nevada.
 4 10.Venue is proper pursuant to 28 U.S.C. § 1391 because all the conduct giving rise
 5     to this complaint occurred in Nevada.
 6                                          Parties
 7 11.Plaintiff is a natural person who resides in Clark County, Nevada.
 8 12.Plaintiff is alleged to owe a debt, and is a consumer as that term is defined by 15
 9     U.S.C. § 1692a(3).
10 13.Defendant is a company that offers debt collection services.
11 14.Defendant uses an instrumentality of interstate commerce or the mails in a
12     business the principal purpose of which is the collection of debts; or who
13     regularly collects or attempts to collect, directly or indirectly, debts owed or due
14     or asserted to be owed or due another; and is a debt collector as defined by 15
15     U.S.C. § 1692a(6).
16 15.NAF is a corporation doing business in the State of Nevada.
17 16.Unless otherwise indicated, the use of Defendant’s name in this Complaint
18     includes all agents, employees, officers, members, directors, heirs, successors,
19     assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
20     the named Defendant.
21                                   Factual allegations
22 17.The following is some of the information Plaintiff is currently aware of, and it is
23     expected that after Plaintiff conducts discovery, these allegations will be
24     bolstered and enhanced through discovery.
25 18.Plaintiff has always been current on his mortgage.
26
27
      _____________________
      Complaint                                 - ​3 -
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1
     19.Plaintiff has been receiving calls from ANF stating that he is past due.
2
     20. When Plaintiff answers the phone there is a pause, then a representative gets on
3
        the line and asks when they can expect payment.
4
     21.Each time Plaintiff has answered he asks if he is past due and the representative
5
        confirms that he is not past due.
6
     22.Plaintiff asks representative why he is getting these calls and he is told by the
7
        representative that the representative does not know why.
8
     23.Plaintiff has requested multiple times that Defendant stop calling him.
9
     24.Plaintiff continues to receive calls from defendant at least five to eight days every
10
        month.
11
     25.On the days that Plaintiff receives calls from defendant, he receives as many as
12
        three calls in a single day.
13
14
                                         Plaintiff’s damages
15
     26.Plaintiff has suffered emotional distress and mental anguish as a result of
16
        Defendant’s actions described herein. In addition, Plaintiff incurred out-of-pocket
17
        costs and time in attempts to dispute Defendant’s actions. Plaintiff further
18
        suffered humiliation and embarrassment when Plaintiff needed to seek the help of
19
        others, including friends, family, and an attorney, because Plaintiff felt helpless
20
        against Defendant.
21
                                        First Cause of Action
22
                                Negligent Violations of the TCPA
23
                                       47 U.S.C. § 227, et seq.
24
25
     27. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
26
        as though fully stated herein.
27
      _____________________
      Complaint                                  - ​4 -
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1 28. The foregoing acts and omissions of Defendant constitute numerous and
2       multiple negligent violations of the TCPA, including but not limited to each and
3       every one of the above-cited provisions of 47 U.S.C. § 227, et seq.
4 29. As a result of Defendant's negligent violations of 47 U.S.C. § 227 et seq,
5       Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
6       every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
7 30.Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
8       the future.
9
                                     Second cause of action
10
                        Knowing and/or Willful Violations of the TCPA
11
     31.Plaintiff incorporates by reference all of the above paragraphs of this Complaint
12
        as though fully stated herein.
13
     32.The foregoing acts and omissions of Defendant constitute numerous and multiple
14
        knowing and/or willful violations of the TCPA, including but not limited to each
15
        and every one of the above-cited provisions of 47 U.S.C. § 227, et seq.
16
     33.As a result of Defendant's knowing and/or willful violations of 47 U.S.C. § 227et
17
        seq, Plaintiff is entitled to an award of $1,500.00 in statutory damages, for each
18
        and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
19
     34.Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
20
        the future.
21
                                         Prayer for relief
22
     35.Wherefore, Plaintiff prays that judgment be entered against Defendant, and
23
        Plaintiff be awarded damages from Defendant, as follows:
24
              ● Award statutory damages of $500.00 for each and every negligent
25
                  violations of 47 U.S.C. § 227(b)(1), pursuant to 47 U.S.C. §
26
                  227(b)(3)(B);
27
      _____________________
      Complaint                                - ​5 -
           Case 2:22-cv-00048-APG-NJK Document 1 Filed 01/10/22 Page 6 of 6




1           ● Award statutory damages of $1,500.00 for each and every knowing
2               and/or willful violations of 47 U.S.C. § 227(b)(1), pursuant to 47
3               U.S.C. § 227(b)(3)(C);
4           ● Injunctive relief prohibiting such conduct in the future, pursuant to 47
5               U.S.C. § 227(b)(3)(A); and
6           ● Any other relief that this Court deems just and proper.
7                                        Jury Demand
8 36.Pursuant to the Seventh Amendment to the Constitution of the United States of
9     America, Plaintiff is entitled to, and demands, a trial by jury.
10
       Dated: ​January 10, 2022.
11
12
                                             Respectfully submitted,
13
14
                                             Kind Law
15
16                                           /s/ Michael Kind         .
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     Complaint                                - ​6 -
